     Case 4:16-cv-00511-MW-CAS Document 204 Filed 11/17/21 Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

REIYN KEOHANE,

              Plaintiff,

v.                                            Case No.: 4:16cv511-MW/CAS


JULIE JONES, in her official capacity
as Secretary of the Florida Department
of Corrections,

          Defendant.
__________________________________/

                               ORDER ON COSTS

      Pending before this Court is Defendant’s motion to tax costs, ECF No. 199,

Ms. Keohane’s response, ECF No. 201, and Defendant’s reply, ECF No. 203.

Defendant concedes that certain costs are not compensable and agrees to omit costs

associated with the Supreme Court printing ($1,678.63) and the preliminary

injunction hearing ($306.60). Otherwise, Defendant seeks costs in the amount of

$13,356.43.

      Ms. Keohane asks this Court to exercise its discretion to deny Defendant’s

costs, “[g]iven the substantial public benefit provided by Plaintiff’s lawsuit and the

unfairness of forcing Plaintiff to pay Defendant’s costs under the circumstances.”

ECF No. 201. In support of her position, Ms. Keohane cites numerous courts across
      Case 4:16-cv-00511-MW-CAS Document 204 Filed 11/17/21 Page 2 of 5




the country that have exercised their sound discretion to deny costs in cases

involving, among other things, issues of great public importance or resulting in

benefits to the public.

       This Court recognizes that it has discretion as to whether to award costs to the

prevailing party, but its discretion is not unfettered. Head v. Medford, 62 F.3d 351,

355 (11th Cir. 1995) (noting that “although the district court has discretion to deny

a prevailing party costs, such discretion is not unfettered,” and reiterating that the

trial court “must give a reason for its denial of costs” (citation omitted)); See also

Fed. R. Civ. P. 54(d)(1) (“Unless a federal statute, these rules, or a court order

provides otherwise, costs—other than attorney’s fees—should be allowed to the

prevailing party.”). Here, without question, Defendant is the prevailing party in this

litigation.

       But Ms. Keohane asserts her case was a force for good that “resulted in a

major shift in the policy and approach of the DOC with respect to the treatment of

transgender individuals in DOC custody.” ECF No. 201 at 5. For this reason, and

because (1) this case involved the novel issue of access to social transition in prison,

(2) Ms. Keohane’s good faith in bringing her claims, and (3) the unfairness of forcing

Ms. Keohane to pay Defendant’s costs from funds she has saved for gender-

affirming surgery, Ms. Keohane asks this Court to deny Defendant’s costs in full.




                                           2
     Case 4:16-cv-00511-MW-CAS Document 204 Filed 11/17/21 Page 3 of 5




      With respect to Ms. Keohane’s good faith in bringing her claims and the

unfairness attendant to forcing her to pay Defendant’s costs with funds saved for her

gender-affirming surgery, this Court notes that “good faith and limited financial

resources are not enough to overcome the strong presumption in favor of awarding

costs to the prevailing party.” Pickett v. Iowa Beef Processors, 149 F. App’x 831,

832 (11th Cir. 2005). “[A] non-prevailing party’s financial status is a factor that a

district court may, but need not, consider in its award of costs pursuant to rule 54(d).”

Chapman v. Al Transp., 229 F. 3d 1012, 1039 (11th Cir. 2000); see also Brown v.

U.S. Dep’t of Agric., No. 6:06-cv-1329-Orl-18UAM, 2008 WL 203382, *1 (M.D.

Fla. Jan. 23, 2008) (reducing taxable costs by 50% based on Plaintiffs’ financial

status). But if this Court considers a party’s financial status, it “should require

substantial documentation of a true inability to pay.” Chapman, 229 F.3d at 1039.

Here, Ms. Keohane has not submitted any documentation to demonstrate a true

inability to pay. And although the parties fully litigated the novel issue of access to

social transition in prison, Ms. Keohane was ultimately unsuccessful in that

endeavor. See Keohane v. Fla. Dep’t of Corrs. Sec’y, 952 F.3d 1257, 1278 (11th Cir.

2020) (“[W]e reject on the merits her claim that FDC violated the Eighth

Amendment by refusing to accommodate her social-transitioning-related

requests.”).




                                           3
      Case 4:16-cv-00511-MW-CAS Document 204 Filed 11/17/21 Page 4 of 5




       Finally, had Ms. Keohane’s claims been limited only to the matter of the

provision of hormones and Defendant’s “freeze-frame” policy, Ms. Keohane is

arguably entitled to an order denying Defendant’s costs based on the public

importance and public good she produced by prosecuting her claims. But this case

also involved lengthy litigation over an issue—social transitioning in prison—upon

which Ms. Keohane did not prevail. Indeed, the matters on which Plaintiff arguably

prevailed—receiving hormones and changing Defendant’s “freeze-frame” policy—

were resolved in part before this Court even got involved. See, e.g., ECF No. 51

(order denying motion for preliminary injunction); ECF No. 67 at 81 (“But I find

that based on the current status of Ms. Keohane’s treatment, the status can be – status

quo can be maintained as we move forward, and therefore the motion for preliminary

injunction is denied.”). In balancing the equities, albeit a close call, this Court

concludes that the public benefit of Ms. Keohane’s claims with respect to hormone

treatment and the former “freeze-frame” policy do not outweigh the strong

presumption of costs to which Defendant is entitled.

       Accordingly, Defendant’s motion to tax costs, ECF No. 199, is GRANTED

in part and DENIED in part. This Court finds Defendant is entitled to costs totaling

$13,356.43.1 The Clerk shall enter judgment for costs stating, “Defendant is entitled


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          Plaintiff has cited nothing in the record to suggest that Mr. McManus’s deposition was
“not related to an issue in the case when the depositions were taken.” U.S. E.E.O.C. v. W&O, Inc.,
213 F.3d 600, 622 (11th Cir. 2000). To the contrary, Defendant asserts Mr. McManus testified as
                                                4
      Case 4:16-cv-00511-MW-CAS Document 204 Filed 11/17/21 Page 5 of 5




to judgment against Plaintiff in the amount of $13,356.43 in costs, for which sum let

execution rest.” The Clerk shall close the file.

       SO ORDERED on November 17, 2021.
                                           s/Mark E. Walker
                                           Chief United States District Judge




a 30(b)(6) witness regarding, among other topics, exhaustion of administrative remedies and
procedures associated with adopting new FDC policies—both of which are topics related to issues
in this case. Accordingly, deposition costs for Mr. McManus are compensable and included in the
costs total.
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